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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
         Plaintiff,                               )      Criminal No. 6:11-cr-54-5-GFVT-HAI
                                                  )
 V.                                               )
                                                  )
 BOBBY JACK TRENTON SPARKS,                       )                     ORDER
                                                  )
                                                  )
         Defendant.                               )

                                          *** *** *** ***

       This matter is before the Court on the Recommended Disposition filed by United States

Magistrate Judge Hanly A. Ingram. [R. 583.] Defendant Bobby Jack Trenton Sparks is charged

with two violations of his supervised release, both related to an incident of public intoxication

and fourth degree assault on August 6, 2016. [See id. at 102.] After presiding over Mr. Sparks’s

initial appearance and final revocation hearing, Judge Ingram issued a Recommended

Disposition as to the alleged supervised release violations. Judge Ingram recommends

revocation of Mr. Sparks’s term of supervised release, with an imposed term of incarceration of

thirty days. [Id. at 7.] Judge Ingram also recommends a second term of supervised release to

follow, with that term expiring on March 27, 2017, under the same conditions previously

imposed [see id.; R. 457 at 2-3], and that the Defendant be evaluated for suitable alcohol abuse

treatment upon his release. [Id. at 8.]

       Mr. Sparks, through counsel, submitted a Waiver of Allocution which was signed and

filed in the record on September 21, 2016. [R. 587-1.] Mr. Sparks also indicates he has no

objections to Judge Ingram’s Recommended Disposition. [R. 587.] His only request to the
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Court is that the Court recommend to the Bureau of Prisons that Mr. Sparks be allowed to serve

his period of incarceration at FCI Manchester, and that Mr. Sparks serve as much of the time as

possible in the Laurel County Detention Center. [See id.]

       Generally, this Court must make a de novo determination of those portions of a

Recommended Disposition to which objections are made. 28 U.S.C. § 636(b)(1)(c). When no

objections are made, as in this case, the Court is not required to “review . . . a magistrate’s

factual or legal conclusions, under a de novo or any other standard.” See Thomas v. Arn, 474

U.S. 140, 151 (1985). Here, the Defendant has expressed full agreement with the Magistrate’s

Recommended Disposition, and the Court finds that Judge Ingram adequately performed the 28

U.S.C. § 3583(e) analysis. Accordingly, it is hereby ORDERED as follows:

       1. The Recommended Disposition [R. 583] as to Defendant Bobby Jack Trenton Sparks

is ADOPTED as and for the Opinion of the Court;

       2. Defendant Sparks is found to have violated the terms of his supervised release as set

forth in the Report filed by the U.S. Probation Officer and the Recommended Disposition of the

Magistrate Judge;

       3. Mr. Sparks’s supervised release is REVOKED;

       4. Mr. Sparks is hereby sentenced to a term of imprisonment of thirty (30) days, with a

term of supervised release expiring on March 27, 2017, to follow. The term of supervised

release shall be imposed under the same conditions previously imposed at Docket Entry 457,

with the added recommendation that Mr. Sparks be evaluated for suitable alcohol abuse

treatment upon his release;

       5. Additionally, the Court RECOMMENDS that the Federal Bureau of Prisons house




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Mr. Sparks in the facility closest to his home for which he qualifies during his new period of

incarceration; and

       6. Judgment shall be entered promptly.

       This the 26th day of September, 2016.




                                                3
